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UNlTED STATES BANKRUPTCY COURT
SOUTHERN DlSTRlCT OF FLORIDA

www.f|sb.tlscourts.gov
in rec
Kend_all Lake Towers
Condominium Association, lnc.
Debtor /

Case 16-12114-RAM
Ch 11

BALLOT AND DEADLINE FOR F|LING BALLOT ACCEPTING OR REJECTING PLAN

TO HA VE YOUR VOTE COUNT YOU MUST COMPLETE AND RETURN THlS
BALLOT BY THE DEADLINE (AS SET PURSUANT TO LOCAL RULE 3018-1)
NOVEMBER 29, 2018

The plan filed by Debtor can be confirmed by the court and thereby made binding on you if it is accepted by
the holders of two-thirds in amount and more than one-half in number of claims in each class and the
holders of two-thirds in amount of equity security interests in each class voting on the plan. in the event the
requisite acceptances are not obtained, the court may nevertheless confirm the plan if the court finds that

the plan accords fair end equitable treatment to the class rejecting ll.

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following type of claim placed in the indicated class /n the indicated amount.'

 

 

 

 

 

 

 

 

 

TYF’E OF CLA/M CLASS /N PLAN AMOUNT OF CLA/M
Secured $
Unsecured /j/ $ jig '7 $[c]
I l
Equity Security Ho|cler t $
The undersigned [Check L/Accepts _ Rejects

   

Signed:
Print Name:

Address: 86 CK§E
Phone: q§L/..qg7, 75§7>
Date. // 2 °_ /g

FlLE TH|S BALLOT ON OR BEFORE NOVEMBER 29, 2018

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with: Office of the C|erk C. Clyde Atkins United States Courthouse 301 North
lllliami Avenue, Room 150 lllliami, FL 33128

and JOEL ARESTY aresty@ic|oud.com

lt you have more than one type of claim against this debtor, separate ballots must
be filed and you should receive a ballot for each type of claim eligible to vote.
Contact the plan proponent regarding incorrect or insufficient ballot(s).

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